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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation

                                              United States District Court
                                       Eastern District of California

          UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                       v.                                        (For Revocation of Probation or Supervised Release)
                                                                 (For Offenses committed on or after November 1, 1987)
               NAM PHAM TRAN
               (Defendant’s Name)                                Criminal Number: 2:05CR00542-06

                                                                 Mark Reichel
                                                                 Defendant’s Attorney
THE DEFENDANT:
[U]  admitted guilt to violation of charge(s) 1 as alleged in the violation petition filed on 12/15/14 .
[]   was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
     violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Number                Nature of Violation                              Date Violation Occurred
1                               New Law Violation                                11/15/14




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 2/3/12 .

       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]      Charge(s)      is/are dismissed.


        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                        9/4/15
                                                        Date of Imposition of Sentence




                                                        Signature of Judicial Officer

                                                        GARLAND E. BURRELL, JR., Senior U. S. District Judge
                                                        Name & Title of Judicial Officer

                                                        9/22/15
                                                        Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:      2:05CR00542-06                                         Judgment - Page 2 of 4
DEFENDANT:        NAM PHAM TRAN


                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 1 day .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[]      The court makes the following recommendations to the Bureau of Prisons:



[]      The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on .
        [ ] as notified by the United States Marshal.


[U]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [U] before 11:00 a.m. on 9/4/15 .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                        RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to
at                                           , with a certified copy of this judgment.



                                                                                   UNITED STATES MARSHAL


                                                                         By
                                                                                          Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
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DEFENDANT:        NAM PHAM TRAN

                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 11 months .

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, not to exceed four (4) drug tests per month.
[]      The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
        of future substance abuse. (Check, if applicable.)
[U]     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
        applicable.)
[U]     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
[]      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
        16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
        agency in which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
[]      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
1)  the defendant shall not leave the judicial district without permission of the court or probation officer;
2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)  the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)  the defendant shall support his or her dependants and meet other family responsibilities;
5)  the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
    other acceptable reasons;
6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
    confiscation of any contraband observed in plain view by the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
    without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:      2:05CR00542-06                                           Judgment - Page 4 of 4
DEFENDANT:        NAM PHAM TRAN

                                 SPECIAL CONDITIONS OF SUPERVISION

      1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
           States probation officer, or any other authorized person under the immediate and personal
           supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
           Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
           residents that the premises may be subject to searches pursuant to this condition.

      2.   The defendant shall provide the probation officer with access to any requested financial
           information.

      3.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
           breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

      4.   The defendant shall not possess or have access to any paging device or cellular phone without
           the advance permission of the probation officer. The defendant shall provide all billing records
           for such devices, whether used for business or personal, to the probation officer upon request.

      5.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
           treatment or testing and shall make payment directly to the vendor under contract with the
           United States Probation Office of up to $25 per month.

      6.   The defendant shall provide all requested business/personal phone records to the probation
           officer. The defendant shall disclose to the probation officer any existing contracts with
           telephone line/cable service providers. The defendant shall provide the probation officer with
           written authorization to request a record of all outgoing or incoming phone calls from any
           service provider.

      7.   The defendant shall participate in a cognitive behavioral treatment program as directed by the
           probation officer.
